Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 1 of 16 PageID #: 23974




                     Exhibit 50
  Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 2 of 16 PageID #: 23975




Guidance for Transgender
Inclusion in Domestic Sport




Published September 2021
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 3 of 16 PageID #: 23976




Contents

Foreword from our CEOs                                         3
Introduction                                                   5
Guiding Principles                                             7
The way forward                                                9
Conclusion                                                   15




                                                                             2
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 4 of 16 PageID #: 23977




Foreword from our CEOs

We want sport to be a place where everyone can be themselves, where everyone can take part and where
everyone is treated with kindness, dignity and respect.

Over the past 18 months we, the five Sports Councils responsible for supporting and investing in sport across
England, Wales, Scotland and Northern Ireland, have been working together to develop new guidance to support
the inclusion of transgender people in sport, recognising that the existing guidance from 2013 was out of date
and no longer fit for purpose.

We also recognised that sport at every level required more practical advice and support in this area to be able to
maximise opportunities for inclusion and accessibility.

The ultimate aim of this work is to better support our partners in understanding current needs and challenges in
this area and to ensure that sports can make informed decisions in seeking to become as inclusive as possible.
The guidance has been developed following a review which was divided into two parts.

One involved an extensive independent consultation which considered the views and experiences of hundreds
of people within sport, from grassroots through to elite competition. Specialist groups and individuals were also
consulted by interviews and surveys and the respondents were a diverse group spread across more than 54
sports and representing 175 organisations. We want to thank everyone who gave up their time and took part,
particularly because we know that for many, doing so was challenging and emotive. We are hugely grateful for
your input.

The second part of the review explored the background to current policies domestically and internationally
and considered the latest scientific findings relating to the inclusion of transgender people in sport, such as
testosterone suppression in transgender women, and the use of case-by-case assessments. It explored and
considered up-to-date peer reviewed and published studies, up to early 2021.

While our consultation found that there was widespread support for ensuring that sport was a welcoming place
for everyone in society, including for transgender people, it also highlighted that there were concerns relating
to safety and fairness in relation to transgender inclusion, particularly in female sport, and that there was no
consensus on a single solution as to how this should be addressed.

It was clear too that a wider range of solutions than those that are currently on offer needed to be identified so
that everyone taking part could do so in a fair, safe and inclusive way.

Our work exploring the latest research, evidence and studies made clear that there are retained differences in
strength, stamina and physique between the average woman compared with the average transgender woman
or non-binary person registered male at birth, with or without testosterone suppression.

Based on our conclusions, we are publishing suggested recommendations for the National Governing Bodies
(NGBs and Scottish Governing Bodies (SGBs we work with and a framework for them to consider when they are
developing their own policies in this area, as well as a summary of the research we considered.




                                                                                                             3
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 5 of 16 PageID #: 23978




This will support NGBs and SGBs and other partners to define the best options for their activity, depending on
their own assessment as to their priorities, and consider a range of options as to how they might achieve those.
We believe that this provides a significantly stronger, more specific, and authoritative framework than has ever
existed before in relation to transgender inclusion in sport.

Our recommendations encourage our NGBs and SGBs to think in innovative and creative ways to ensure nobody
is left out.

We want this guidance to open up, rather than close down opportunities for everyone, recognising that many
other people already feel excluded from sport and physical activity.

We now want to see meaningful and respectful consultation in developing these approaches, which we hope will
facilitate increased transgender participation and help sport to become more open, inclusive and diverse.
We all recognise that in order to survive and thrive in the future, sport must adapt to reflect modern society, and
that often, it is too slow to do so.

Society is changing, and sport must face the challenge of accommodating participation from every group – even
if this means recognising that their traditional structures are not always set up to do so. We believe that this
guidance therefore offers a chance for a reimagining of what sport can look like – and we will work closely to
support those sports who want to embrace this fresh thinking.

We will be alert and responsive to emerging research and evidence and will commit to reviewing the guidance on
a more regular basis to ensure it is fit for purpose. We also commit to continuing to work closely with our partners
to support them to navigate the use of the guidance to help them make informed decisions for their sport.

This has been a challenging and emotive piece of work – but we believe we are putting forward pragmatic
solutions for sports to work with, so sport can be a place where everyone can take part.




                                                                                                            4
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 6 of 16 PageID #: 23979




Introduction

As set out in the foreword from our CEOs, The Sports Councils’ Equality Group (SCEG) commissioned a review of
its existing Guidance (2013/15) for the inclusion of transgender people in sport last year, recognising that sport at
every level required more practical advice and support.

This review investigated the views, knowledge, and experience of hundreds of people with a lived experience
in sport, including transgender people, and also explored the background to current policies domestically and
internationally and considered the latest scientific findings affecting the inclusion of transgender people in
domestic sport.

It was clear throughout that this is a complex area, and that there is an ongoing requirement for education and
engagement with the aim of creating an environment in which the inclusion of all people in sport and physical
activity is expected, accepted and celebrated.

There are a number of supporting documents to this Guidance, which gives further background and
understanding of the recommendations. You can find these documents at https://equalityinsport.org/resources.



Summary of what the review found

The review found that while there was widespread support for ensuring that sport was a welcoming place
for everyone in society, there were some concerns relating to safety and sporting fairness in the inclusion of
transgender people, particularly transgender women, and no consensus on how this should be addressed.

Two divergent groups emerged amongst respondents. One group believed wholly in the value of inclusion over
and above anything else and believe that transgender people should be able to take part in sport at every level
with limited to no restrictions.

The second group believed in what they would describe as fair sporting competition and adherence to rules
which give sport validity – and therefore, they believe that transgender participation should be subject to
regulation.

The review concluded that the views of these two groups couldn’t be reconciled within the existing structure of
sport and that the system requires a reset and fresh thinking.

The overarching recommendation is that NGBs and SGBs are encouraged to enter a decision-making process,
set out below, in which they can best accommodate transgender inclusion, fairness, and safety in their sport.




                                                                                                             5
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 7 of 16 PageID #: 23980




What the review is recommending

As a result of what the review found, the Guidance concludes that the inclusion of transgender people into
female sport cannot be balanced regarding transgender inclusion, fairness and safety in gender-affected sport
where there is meaningful competition. This is due to retained differences in strength, stamina and physique
between the average woman compared with the average transgender woman or non-binary person assigned
male at birth, with or without testosterone suppression.

Sports, however, are incredibly diverse and there can be no ‘one-size fits all’ approach. This review has concluded
therefore that, for many sports, there may not be a common single competition model which will meet the
needs of full transgender inclusion while retaining competitive fairness, particularly in female sport.

We are therefore encouraging and advising NGBs and SGBs to define the best options for their sport and
determine whether it may be possible to offer more than one version of their sport to achieve the different aims.

NGBs and SGBs are encouraged, and will be supported, to use the decision-making framework set out below,
in which they can consider how gender affected their sport is, and if appropriate, consider how this might be
modified and adapted to offer multiple competitive or participation models.

The Sports Councils are committed to facilitating and promoting the education and decision-making process to
enable NGBs and SGBs to make the best decisions for their sport and for their communities.

This Guidance also sets out the underlying principles which NGBs should consider when developing policies in
this area, which are designed to create opportunities for sport to increase inclusion and the breadth of sport for
everyone in society.




                                                                                                           6
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 8 of 16 PageID #: 23981




Guiding Principles

These 10 Guiding Principles are for sports to use when developing policies in this area:

1. All
    of the Sports Councils are committed to the inclusion of transgender people in sport and physical
   activity.
	In keeping with the findings of this review, the goals of acceptance, social inclusion and physical activity may
  be best achieved outside of the sex binary in grassroots and domestic sport. The introduction of new and
  different models within sport offers an alternative option to meet the needs of people across all the strands
  of the Equality Act.

2. C
    ategorisation within the sex binary is and remains the most useful and functional division relative to
   sporting performance.
	This categorisation acknowledges the broad ranging and significant performance differences between
  the sexes. Hence, sports should retain sex categorisation, along with age and disability (and weight as
  appropriate) categories.

3. E vidence indicates it is fair and safe for transgender people to be included within the male category in
    most sports.
	This is on the assumption that the transgender person will generally be using testosterone supplementation,
  for which a Therapeutic Use Exemption (TUE) will be required in many sports. The NGBs and SGBs of contact,
  collision or combat sports in which size may impact safety considerations may consider further parameters
  to ensure safety of transgender people, including transgender men, non-binary and gender fluid people
  recorded female at birth.

4. C
    ompetitive fairness cannot be reconciled with self-identification into the female category in gender-
   affected sport.
	This principle is in keeping with the provisions of the Equality Act, and acknowledges the average differences
  in strength, stamina, and physique between the sexes.

	Self-identification through the ‘acceptance of people as they present’ may be appropriate in those sports
  which are not gender-affected. In this instance, for clarity and inclusion, these sports may appropriately be
  considered ‘mixed’ or ‘universal’ sports, in which everyone may participate and compete together.

5. B
    ased upon current evidence, testosterone suppression is unlikely to guarantee fairness between
   transgender women and natal females in gender-affected sports:
   a)	Transgender women are on average likely to retain physical advantage in terms of physique, stamina,
       and strength. Such physical differences will also impact safety parameters in sports which are combat,
       collision or contact in nature.
   b)	Recent international policy on testosterone limits are set at a level below 5nmol/L in sports which choose
       to provide entry into female sports for transgender women. This is more appropriate than the 10nmol/L
       which is stipulated by the International Olympic Committee and which remains within the normal range
       for males. The current preliminary 12-month period is unlikely to result in the achievable minimisation of
       physical capacity.




                                                                                                            7
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 9 of 16 PageID #: 23982




6. ‘Case-by-case’ assessment is unlikely to be practical nor verifiable for entry into gender-affected sports.
   NGBs may wish to consider the following when determining the appropriateness of this:
   •	It has not been scientifically validated as to whether any parameters of physical capacity or ability
      can be defined with a certain cut-off point at which someone is considered appropriately ‘female’ or
      appropriately ‘male’.
   •	Many tests related to sports performance are volitional. This means a person must try their very best to
      get an appropriate measurement. It is difficult to foresee how someone could be expected to provide
      maximal effort when a positive outcome for them relies on achieving a lesser result.
   •	Panel members are unlikely to be able to manage a situation in which their decisions can determine
      the suitability of some individuals, and not others. In the absence of a scientific rationale this places the
      panel members in a difficult situation.
   •	Case-by-case analysis may fall outside of the provisions of the Equality Act (whereby provision is for
      average advantage not individual advantage) and may be based on criteria which cannot be lawfully
      justified. Some transgender people will be included, some will be excluded through criteria outside of
      their own control.

7. C
    ategorisation by sex is lawful, and hence the requirement to request information relating to birth sex
   is appropriate.
	No individual is compelled to provide any information to a sports organisation. However, failure to provide
  such information would mean that person may not be able to compete in the category of their choice. Sports
  should provide options for those people who prefer not to advise of their sex or gender.

	All data acquired by a sporting agency should be afforded appropriate protection under the Data Protection
  Act 2018.

8. T here are likely to be times in which some transgender people cannot or choose not to be registered,
    either in the short or long-term, within sex binary categories.
	It is imperative that gender-affected sports provide other opportunities for participation in these cases.

9. T he ability of NGBs and SGBs to provide the best mix of sporting options for the broader community
    may be determined by whether a model is intended as physical activity and participation, or whether it
    represents ‘meaningful competition’.
	An assessment of the merits of fairness and/or inclusion can be determined by the sports’ stakeholders to
  inform policy development, and whether this should be different at different levels of sport.

10. Achieving inclusion across all the strands of the Equality Act is complex and nuanced.
	It is recognised that many NGBs and SGBs may find the task of developing appropriate policy and protocols
  both difficult and time-consuming. It is important that views of a wide range of stakeholders are canvassed
  and that everyone is given an appropriate platform in which to contribute, and that different views and
  experiences are heard and respected. The Sports Councils are committed to facilitating education and
  decision making within sports in the UK.




                                                                                                             8
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 10 of 16 PageID #: 23983




The way forward

For many NGBs, the development of policy and practice will depend on a closer understanding of the gender-
affected nature of their sport, and the priorities which they place on transgender inclusion, fairness and safety.
The following table and considerations are offered as a starting point for sports to analyse their current
competition format.

In accordance with the Equality Act 2010: A gender-affected activity is a sport, game, or other activity of a
competitive nature in circumstances in which the physical strength, stamina, or physique of average persons of
one sex would put them at a disadvantage compared with average persons of the other sex as competitors in
events involving the activity.

Some useful questions for NGBs and SGBs to consider in order to help them to make informed decisions in
seeking to become as inclusive as possible, are:


  Question                                                  Considerations

  Is your sport ‘gender affected’, and how is that          Most, but not all sports are impacted by the physical
  manifest?                                                 differences between males and females. Sports
                                                            which are mainly skillful may not be gender-affected.

  Does your sport reward greater strength, stamina or       If there is a material advantage for being bigger,
  physique?                                                 stronger, fitter and faster in your sport then it is
                                                            likely that it is gender-affected.

  If your sport is not gender affected, or some forms       This might include considerations of socio-cultural
  of your sport are not gender affected, what are the       factors, or aspects such as faith or ethnic groups.
  reasons to retain sex categories for that competition
  in the future?

  What is the purpose of the sex categories in your         This refers to whether your sport considers that the
  sport?                                                    categories exist to provide inclusion or whether it is
                                                            to provide fairness in competition.

  Do you consider inclusion to be the first priority?       If so, then your decisions are based around this
                                                            priority.

  Is fairness paramount to your sport? Is safety            Again, if these are the priorities then that informs
  paramount to your sport?                                  your decision-making.

  Could your sport offer alternative competitive            If novel or modified versions of your sport could
  models which may be specific to inclusion or              be developed, then this could increase options for
  fairness but not necessarily both?                        inclusion.

  Does your sport currently accommodate                     If so, it may mean that fairness cannot be achieved
  consideration of female characteristics such              alongside inclusion in this format of your sport.
  as smaller playing surface, lighter weighted
  implements, lower net or hurdle height, shorter
  length of event or distance covered?



                                                                                                               9
 Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 11 of 16 PageID #: 23984




Question                                               Considerations

Does your sport have modified rules for females,       This is the case for some sports and would
males or other categories such as juniors?             potentially require modification to promote
                                                       inclusion.

Does, or could your sport offer modified versions of   This would assist inclusion if at all possible.
your playing rules?

Are there some versions which are more specific to     If so, this might create opportunities for inclusion
categorisation for competitive fairness, and others    through different models within your sport.
which would be more appropriate for inclusive
sport?

Do you think the emphasis on inclusion and fairness    It is important to consider how competitors assess
should be different between grassroots community       their involvement in sport. Some grassroots sports
participation compared with sport which offers         may be fiercely competitive, and other high-level
‘meaningful competition’?                              sport may be considered non-competitive by the
                                                       participants.

Do you believe your sport’s categorisation gives       Consultation is needed within your sport to ensure
fairness within and access to competition to all       opinions are sought from a range of stakeholders.
participants?

Does your sport offer secondary or consequential       This might relate to things like prizes or winning
reward to those who are successful? Does your          scholarships, or gaining entry to courses in higher
sport consider this to be an outcome of fair           education, or a professional career in sport.
competition or inclusion?

Is your sport able to offer non-competitive outcomes   This is relevant if there is an opportunity for ‘social’
irrespective of the level of competition?              or ‘recreational’ sport for your participants or club
                                                       members.




                                                                                                         10
    Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 12 of 16 PageID #: 23985




Hierarchy of ‘contact’

This relates to perceptions of both fairness and, more importantly, to safety as a criterion for gender-affected
sport. The nature of a given sport allows for different rules/laws and different degrees of physical contact with
opposing competitors. Sports can be viewed on a continuum ranging from zero contact to full-force striking and
grappling of opponents.

An understanding of levels of physical contact provide an extra dimension of safety, whereby the factors of
strength, stamina and physique puts one sex (female) at a disadvantage and present greater risk of injury.
A hierarchy can be presented as:
1	Sports which compete in parallel: for example, gymnastics, dressage, skateboarding, downhill skiing, track
   sprints, rowing, darts, pool swimming.
2	Contact sport (within the same space): for example, netball, basketball, football, hockey, some track and road
   cycling, athletics track races over 400m.
3   Collision sports: for example, both rugby codes.
4   Combat sports: for example, boxing, taekwondo, judo, karate.


Other considerations and examples of assessment of gender-affected sport

Some sports are more attributed to skill, or may have an ‘implement’, which may limit the gender-affected nature
of competition, for example:
•   Darts,
    	     curling, bowls, shooting, snooker, equestrian.

S ports which rely significantly on physical capacity – physique (including height), strength, stamina – despite not
 being contact or collision sports, will be considered ‘gender-affected’, for example:
•   Rowing, volleyball, climbing, athletics.

Some sports which use implements may or may not have consideration for physical capacity, for example:
•   Archery, motorsports.

Some ‘judged sports’ are more dependent on skill rather than strength, such as rhythmic gymnastics. However,
some have significant physical factors of strength, stamina, and physique due to the nature of the activity, such
as artistic swimming. Those sports which use lower nets, shorter boundaries, or lighter implements in female
competition implicitly recognise themselves as ‘gender-affected’, and this acknowledges direct competition
between the sexes is considered unfair (and perhaps unsafe). Many sports have an age after which mixed
competition is prohibited, and it is evident from such rules that mixed competition after this age is considered
unfair and/or unsafe.

Objectively measured, individual sports may be able to use competition records to make comparisons of physical
performance between the sexes, while other sports (such as most team sports) will need to rely on contributing
information. It is also relevant to consider the effects of gender-affected sport within a team, and not just
compared with the opposing team. In this way, aspects of fairness and safety will also impact decisions around
selection within a team and across a club or association.


                                                                                                              11
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 13 of 16 PageID #: 23986




An assessment should be made as to whether a sport considers all levels of grassroots and domestic competition
and participation should retain similar policy and rules, or whether there are different imperatives at varying
levels of competition. Estimation of safety is relevant at all levels of sport, and in some cases may be more
important at community-level competition where lower skill level may increase risk.


Three options to be considered

This Guidance suggests the following three options be considered by each governing body.

These options are stated in no particular order and for the avoidance of doubt, are not stated in the order of
importance. Each of transgender inclusion, fairness and safety are important, but the role each may play in
different individual sports will differ, due to the nature of the sport.




                           Prioritise                                      Female
                          transgender                 or                  and open
                           inclusion                                       category

                                +                                            +

                                                  Create additional
                                                versions (universal
                                                    admission)




The choice of competitive format is not intended to be mutually exclusive, and NGBs and SGBs can opt to provide
competition in more than one model. The Sports Councils encourage all NGBs and SGBs to be creative and
accommodating in order to be maximally inclusive for all participants including, if possible, disabled participants
and people across the age groups. Different formats of competition will also allow participation for those people
who may self-exclude from a holistically inclusive environment. SCEG can offer advice and education to assist
NGBs and SGBs in making plans and policy for sport programmes.

Given the assessment of the nature of the sport, along with the priorities of transgender inclusion, fairness, and
safety, the following choices are suggested: if a sport is deemed to be gender-affected it should offer either the
option relating to transgender inclusion, or the option relating to fairness.

Where possible, NGBs and SGBs should also offer an appropriate version of the option relating to safety as well,
within the confines of the sport.

Where appropriate, NGBs and SGBs will need to consider pathways for elite performers into national
competition, and compliance with regulations from international federations.



                                                                                                           12
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 14 of 16 PageID #: 23987




    Prioritise transgender inclusion

Based on the current system, which prioritises inclusion of transgender people into existing sex categories of
gender-affected sport.

This is ‘management’ of the inherent differences between the sexes for transgender people wishing to compete
in their affirmed gender (and for non-binary or gender fluid people who wish to compete in the sex category not
aligned to sex registered at birth). As outlined earlier in Principles 4, 5 and 6, no current method of inclusion of
transgender people can guarantee sporting fairness for the female category. Hence, this option is considered
appropriate for a sport which has determined that inclusion rather than fairness is the objective of the category.
In most sports, transgender men will be able to compete without restriction in the male (or open) category.
However, those sports which include collision or combat may wish to institute safety guidance for the sake of the
transgender competitor.

Those gender-affected sports which wish to include transgender women, or non-binary or gender fluid people
recorded male at birth, within the female category should institute testosterone limits defined by blood tests.
More recent policy indicates a level less than 5 nmol/L is more appropriate than the level of 10nmol/L (and per
protocols defined in international sport) for a preliminary period before entry into the first competition, and then
maintained for as long as the transgender person remains competitive. Current evidence indicates 12 months is
likely to be too short a time to minimise performance differences. As testosterone blood levels can vary over a
short time period under most treatment regimes, tests should be conducted at least quarterly, and can include
further markers of testosterone suppression. Considerations include the need to have a dedicated officer who is
able to administer athletes’ test results throughout the competitive and off-seasons. Should any athlete be away
from testing for any time, they should complete another preliminary period before they can compete again.

Transgender men should not compete in female categories once treatment with testosterone commences, as
this would constitute a doping violation as per UK Anti-Doping (and World Anti-Doping Agency) regulations. All
competitors, at any level of competition, must adhere to anti-doping regulations and this includes use of TUEs for
prohibited medications.


  Female and open category

NGBs and SGBs may choose to offer sport in which the female category is protected for reasons of competitive
fairness and/or safety if they are gender affected. These sports would offer both a female category and an open
category. Female entries would be required to declare themselves as recorded female at birth.

An open category would be available for any competitor to enter. Some sports may choose to acknowledge safety
parameters as part of team selection in contact sports.

All competitors will need to be compliant with anti-doping regulations, including in relation to prior or current
use of anabolic agents, including testosterone.

It is lawful to offer sex categories in sport through the provisions in the Equality Act in respect of
gender-affected sport.




                                                                                                            13
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 15 of 16 PageID #: 23988




  Create additional versions (universal admission)

A third option for many sports would focus on universal community inclusion which may not require estimation
of ability.

NGBs and SGBs are encouraged to develop a model of their sport in which participation is not dependent on
a competitor’s sex or gender, and the classification based on the sex binary is withdrawn for this competition.
Registration for these competitions will not require declaration of any determinant beyond entry above a
nominal age (this may be above the age of 12, depending on the rules of sport competition and physical contact
level). All people, including transgender people who are transitioning, those who do not seek to transition, and
those who may de-transition or be gender fluid, should be able to compete within a universal admission policy.

Sports which are not gender-affected may choose to offer universal admission as the primary form of competition.
However, it must be recognised that a universal admission policy may not equate to full participation for many
reasons, one of which may be self-exclusion.

How best to develop a model of this will be based on decisions relating to how a sport manifests being
‘gender-affected’ and whether this relates to level of contact, and hence safety, or whether it is because of the
physical nature of competition which is relevant to fairness (or both). Further, an understanding of the role of
the competition is important; whether it is purely for recreational participation or whether it offers meaningful
competition. For many sports it will be a combination of factors. In keeping with Principle 6 (case-by-case
assessment), it is likely to be impractical and invalid for methodology around body type to be instituted for
categorisation.

Sport with a universal admission policy will have modified rules such that it can be played by all people, and
for which fairness and safety can be optimised. These models may already exist in some sports. As much as is
possible all adults, including disabled people, should be factored into these offerings. Adaptations of rules include
non-contact versions of team sports, handicap competitions, modified playing areas or implements/balls, walking
versions of team sports, multi-events and non-traditional formats, distances or length of play. Some sports
(such as golf) already have an acknowledgement of ‘handicap’, and others have options for such modifications
(some running, swimming and cycling events). Modern sports allow opportunities to adapt scoring systems to
accommodate a wide range of participants, as practiced in some para sports.

It is acknowledged that for some NGBs there will not be an option for universal admission, and this includes
those sports which are inherently gender-affected due primarily to safety concerns: modifications to remove
physical contact may be impractical, and this includes most of the combat sports. However, elements of such
sport, such as competitive ‘kata’ in karate, may be appropriate.




                                                                                                            14
   Case 2:21-cv-00316 Document 332-6 Filed 05/12/22 Page 16 of 16 PageID #: 23989




Conclusion

This Guidance concludes that for many sports, the inclusion of transgender people, fairness and safety cannot
co-exist in a single competitive model.

Each NGB and SGB should use the framework provided to define the priorities for their sport, and whether the
current format of their sport will provide a focus on either inclusion or fairness (and safety where relevant). This
is a choice.

Where a governing body considers that transgender inclusion, fairness, and safety are all priorities, then a model
for decision making around the best options and opportunities should be developed.

Some governing bodies will need to create a mechanism whereby domestic competition can lead to an
international competition pathway.

The Sports Councils will work with NGBs and SGBs in order to find the optimal outcome for their sport. Education
and training in policy development will be offered to facilitate best practice and the greatest opportunities for
inclusion in sport.



   For further background, you can read the supporting documents to this Guidance at
   https://equalityinsport.org/resources.




                                                                                                             15
